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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

JENNIFER CESPEDES,                  )
                                    )
      Plaintiff,                    )
                                    )
v.                                  ) Civil Action No.:              8:22-cv-02815-VMC-SPF
                                    )
JOSE LUIS BELTRAN DMD MD LLC,       )
                                    )
      Defendant.                    )
____________________________________)

                              FIRST AMENDED COMPLAINT

        COMES NOW the Plaintiff, JENNIFER CESPEDES (“PLAINTIFF”), and files this First

Amended Complaint against Defendant, JOSE LUIS BELTRAN DMD MD LLC,

(“DEFENDANT”), respectfully stating unto the Court the following:

                                 GENERAL ALLEGATIONS

   1.      This is a cause of action to recover back pay, liquidated damages, attorney’s fees, costs

           of litigation and other relief from DEFENDANT for violation of the Fair Labor

           Standards Act (“FLSA”) and retaliation.

   2.      At all material times, PLAINTIFF was a citizen and resident of Florida.

   3.      At all material times, DEFENDANT was a Florida corporation that performed dental

           surgery and related services in and around Hillsborough County, Florida and

           PLAINTIFF worked for DEFENDANT as a project manager in Hillsborough County,

           Florida.

   4.      As a project manager, PLAINTIFF worked within tight parameters established by

           DEFENDANT to assist DEFENDANT’S clients with determining how to finance their

           dental care.
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                                   BACKGROUND

  5.    PLAINTIFF brings this action to require DEFENDANT to pay back wages owed to

        PLAINTIFF, which DEFENDANT failed to pay in violation of the Fair Labor

        Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq.

  6.    At all relevant times, DEFENDANT acted through its officers, agents, servants, and

        employees.

  7.    Upon information and belief, at all relevant times, DEFENDANT had two or more

        employees, including PLAINTIFF, who regularly handled goods that moved in or were

        produced for interstate commerce.

  8.    At all relevant times, DEFENDANT was an enterprise engaged in commerce as defined

        at 29 U.S.C. § 203.

  9.    Upon information and belief, at all relevant times, DEFENDANT had annual gross

        sales in excess of $500,000.00 and two or more employees who regularly handled

        goods that moved in or were produced for interstate commerce.

  10.   At all relevant times, DEFENDANT was an employer within the meaning of the FLSA.

  11.   Jurisdiction is conferred on this Court by 28 U.S.C. §§ 1331, 1337 and by 29 U.S.C. §

        216.

  12.   In or around March 2021, DEFENDANT hired PLAINTIFF for the first time.

        PLAINTIFF worked for DEFENDANT until May 2021, left and was rehired in January

        2022.

  13.   The FLSA requires an employer to pay its employees at a rate of at least minimum

        wage for all hours worked and also requires an employer to pay overtime when a

        nonexempt employee such as PLAINTIFF works more than 40 hours in a week.


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  14.   During both stints of employment, PLAINTIFF worked for DEFENDANT from 7:00

        a.m. to 7:00 p.m., Monday through Friday and was required to answer calls from

        DEFENDANT’S clients after hours and on weekends. PLAINTIFF worked through

        her lunch breaks and spent 15 to 20 hours per week answering calls after hours and on

        weekends.

  15.   Although PLAINTIFF was a manager in name only who performed solely nonexempt

        work for DEFENDANT, DEFENDANT made PLAINTIFF a salaried employee at a

        salary of $65,000 per year. Upon information and belief, DEFENDANT did this so it

        could avoid paying PLAINTIFF overtime for the hours she worked beyond 40 hours

        each week.

  16.   In addition to her salary, DEFENDANT compensated PLAINTIFF with discretionary

        and nondiscretionary bonuses. The nondiscretionary bonuses were based on the

        amount of revenue PLAINTIFF collected for DEFENDANT above certain monthly

        targets.

  17.   In May, July and August 2022, PLAINTIFF complained about not being paid

        appropriately and DEFENDANT retaliated against her by offering her hourly status but

        cutting her hours to 15 hours per week.

  18.   When PLAINTIFF realized she would be making less than half the pay she made, she

        agreed to allow DEFENDANT to continue to pay her on a salary basis.

  19.   Upon information and belief, DEFENDANT has willingly, deliberately and

        intentionally refused to pay PLAINTIFF at an appropriate rate for the time she worked

        by not paying her an overtime premium of time and one-half when she worked more

        than 40 hours in a week.



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  20.   PLAINTIFF therefore is owed compensation for time actually worked but not paid at

        the appropriate overtime rate by DEFENDANT, who willingly and knowingly

        withheld those wages.

                                COUNT I
              VIOLATION OF THE FAIR LABOR STANDARDS ACT

  21.   The General Allegations and Background above are hereby incorporated by reference

        as though fully set forth herein.

  22.   DEFENDANT regularly engages in commerce and its employees, including

        PLAINTIFF, handled and used materials, which have moved in interstate commerce.

  23.   At all relevant times, DEFENDANT was an employer within the meaning of the Fair

        Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq. and is subject to

        the provisions of the Act.

  24.   PLAINTIFF, at all relevant times was a non-exempt employee of DEFENDANT, as

        defined by the Fair Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq.

        who performed work for which she did not receive appropriate compensation.

  25.   During her employment with DEFENDANT, PLAINTIFF performed work for which

        she was not properly compensated in violation of the overtime provision of the Fair

        Labor Standards Act of 1938, as amended, 29 U.S.C. §§ 201, et seq.

  26.   As described above, DEFENDANT’S pay system was unilaterally imposed upon

        PLAINTIFF by DEFENDANT.

  27.   DEFENDANT’S failure to compensate PLAINTIFF properly for her time worked

        violates the provisions of the FLSA and the regulations thereunder.

  28.   DEFENDANT’S failure to compensate PLAINTIFF for all the time she worked was a

        willful and knowing violation of the FLSA.


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   29.      As a result of DEFENDANT’S willful and knowing failure to properly compensate

            PLAINTIFF, she has suffered substantial delay in receipt of wages owed and damages.

   30.      Pursuant to 29 U.S.C. §§206, 207 and 216, DEFENDANT owes PLAINTIFF overtime

            pay for each overtime hour PLAINTIFF worked for which she did not receive

            appropriate compensation and an additional equal amount as liquidated damages, plus

            attorney’s fees and costs of litigation.

   31.      All conditions precedent to maintaining this action have occurred or otherwise been

            waived.

         WHEREFORE, PLAINTIFF demands judgment against DEFENDANT and respectfully

prays the Court that PLAINTIFF will recover unpaid wages, liquidated damages, pre- and post-

judgment interest, nominal damages, attorney’s fees, costs of litigation and other relief by reason

of DEFENDANT’S violations of the FLSA; for a trial by jury on all issues so triable, and, for such

other and further relief as the Court may deem just and proper.

                                             COUNT II
                                          FLSA RETALIATION

   32.      The General Allegations and Background above are hereby incorporated by reference

            as though fully set forth herein.

   33.      PLAINTIFF complained to DEFENDANT in May, June and July 2022 that she should

            be receiving overtime pay because she was performing nonexempt work for

            DEFENDANT.

   34.      In retaliation for PLAINTIFF complaining, DEFENDANT, through Lindsay Beltran,

            told PLAINTIFF that she had made her bed and would have to lie in it. She then

            presented PLAINTIFF with a new contract that would require her to work 30 to 40

            hours per week at an hourly rate of $33 per hour. PLAINTIFF agreed but when


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            DEFENDANT provided her with a schedule, PLAINTIFF’S hours were cut to 1:00

            p.m. to 4:00 p.m., Monday through Friday.

   35.      PLAINTIFF is a single mother of three and did not feel like she could support her

            family on $500 per week, so she agreed to return to salary but at the same time, she

            also started looking for a new job.

   36.      As a result of DEFENDANT retaliating against PLAINTIFF, she was compelled to quit

            working for DEFENDANT which she did on November 30, 2022. This was a

            constructive discharge because no reasonable person in PLAINTIFF’S circumstances

            would continue to work for DEFENDANT for $500 per week.

   37.      As a result of DEFENDANT’S constructive discharge of PLAINTIFF, PLAINTIFF

            has suffered embarrassment, lost wages and other emotional harm and distress.

         WHEREFORE, PLAINTIFF demands judgment against DEFENDANT and respectfully

prays the Court that PLAINTIFF will recover back pay, nominal relief, pre- and post-judgment

interest, attorney’s fees, punitive damages and other relief by reason of DEFENDANT’S illegal




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retaliation against her; for a trial by jury on all issues so triable and, for such other and further

relief as the Court may deem just and proper.



Dated: January 20, 2023

                                                Respectfully submitted,

                                                THE LAW OFFICE OF MATTHEW BIRK



                                                /s/ Matthew W. Birk
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                               CERTIFICATE OF SERVICE

       I CERTIFY that on January 20, 2023, I electronically filed the foregoing with the Clerk

of Court using CM/ECF. I also certify that the foregoing document is being served today on all

counsel of record via transmission of Notice of Electronic filing generated by CM/ECF.




                                            /s/ Matthew W. Birk______ __
                                            Matthew W. Birk




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